 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 WESTERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number (if known):                                     Chapter       11                                        amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     Arete Healthcare LLC

2.   All other names debtor used
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           2      7      –      5      3        1    4         2   4     3

4.   Debtor's address                  Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       22100 Bulverde Road,
                                       Number         Street                                           Number     Street
                                       Suite 108
                                                                                                       P.O. Box



                                       San Antonio                         TX       78259
                                       City                                State    ZIP Code           City                          State   ZIP Code


                                                                                                       Location of principal assets, if different
                                       Bexar                                                           from principal place of business
                                       County



                                                                                                       Number     Street




                                                                                                       City                          State   ZIP Code

5.   Debtor's website (URL)            schertzhealth.com

6.   Type of debtor                            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
Debtor Arete Healthcare LLC                                                             Case number (if known)

7.   Describe debtor's business       A. Check one:

                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above


                                      B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in
                                           15 U.S.C. § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                      C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes




8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?                        Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                           Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                           insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                           4/01/22 and every 3 years after that).

                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet,
                                                             statement of operations, cash-flow statement, and federal income tax return or if
                                                             all of these documents do not exist, follow the procedure in
                                                             11 U.S.C. § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                             Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                             form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                             Rule 12b-2.

                                           Chapter 12

9.   Were prior bankruptcy                 No
     cases filed by or against
     the debtor within the last 8          Yes. District                                        When                      Case number
     years?                                                                                              MM / DD / YYYY

                                                District                                        When                      Case number
     If more than 2 cases, attach a
                                                                                                         MM / DD / YYYY
     separate list.
                                                District                                        When                      Case number
                                                                                                         MM / DD / YYYY



Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 2
Debtor Arete Healthcare LLC                                                              Case number (if known)

10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                  District                                                    When
    List all cases. If more than 1,                                                                                          MM / DD / YYYY
    attach a separate list.                       Case number, if known


                                                  Debtor                                                      Relationship

                                                  District                                                    When
                                                                                                                             MM / DD / YYYY
                                                  Case number, if known


11. Why is the case filed in          Check all that apply:
    this district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                           days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                           any other district.

                                           A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                           district.


12. Does the debtor own or                 No
    have possession of any                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal                   needed.
    property that needs
                                                Why does the property need immediate attention?                 (Check all that apply.)
    immediate attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                     safety.
                                                     What is the hazard?

                                                     It needs to be physically secured or protected from the weather.

                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                     related assets or other options).

                                                     Other


                                                Where is the property?
                                                                              Number      Street




                                                                              City                                      State        ZIP Code

                                                Is the property insured?

                                                     No
                                                     Yes. Insurance agency

                                                              Contact name

                                                              Phone


              Statistical and adminstrative information
13. Debtor's estimation of            Check one:
    available funds                       Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                          creditors.



Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 3
Debtor Arete Healthcare LLC                                                              Case number (if known)

14. Estimated number of                     1-49                               1,000-5,000                               25,001-50,000
    creditors                               50-99                              5,001-10,000                              50,001-100,000
                                            100-199                            10,001-25,000                             More than 100,000
                                            200-999

15. Estimated assets                        $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion

16. Estimated liabilities                   $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion

              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 11/03/2019
                                                      MM / DD / YYYY

                                          X /s/ Brian Johnson                                       Brian Johnson
                                              Signature of authorized representative of debtor      Printed name

                                          Title President

18. Signature of attorney                X /s/ Allen M. DeBard                                                    Date     11/03/2019
                                            Signature of attorney for debtor                                              MM / DD / YYYY

                                            Allen M. DeBard
                                            Printed name
                                            Langley & Banack, Inc.
                                            Firm name
                                            745 E Mulberry Ave, Suite 700
                                            Number          Street



                                            San Antonio                                                TX                   78212
                                            City                                                       State                ZIP Code


                                            (210) 736-6600                                             adebard@langleybanack.com
                                            Contact phone                                              Email address
                                            24065132
                                            Bar number                                                 State




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 4
 Fill in this information to identify the case:
 Debtor name        Arete Healthcare LLC

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number                                                                                                               Check if this is an
 (if known)                                                                                                                amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
Claims and Are Not Insiders                                                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claims resulting from inadequate collateral value places the
creditor among the holders of the 20 largest unsecured claims.


 Name of creditor and          Name, telephone         Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing              number, and email       (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip        address of              debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                          creditor                professional          unliquidated,   secured, fill in total claim amount and
                               contact                 services, and         or disputed     deduction for value of collateral or setoff to
                                                       government                            calculate unsecured claim.
                                                       contracts)
                                                                                             Total           Deduction       Unsecured
                                                                                             claim, if       for value       claim
                                                                                             partially       of
                                                                                             secured         collateral
                                                                                                             or setoff
1   Green Capital Funding                              Business debt         Disputed                                           $540,000.00
    LLC
    30 Broad St., Suite
    14108
    New York, NY 10004

2   WG Capital                                         Business debt / AR    Disputed                                           $449,700.00
    1734 8th Ave.                                      Factoring
    Suite PH
    Brooklyn, NY 11215



3   Region Capital                                     Business debt         Disputed                                           $374,750.00
    323 Sunny Isles Blvd.
    Suite 501
    Sunny Isles, FL 33160



4   Platinum Rapid Funding                             Business debt         Disputed                                           $141,050.00
    Group, Ltd.
    348 RXR Plaza
    Uniondale, NY 11556



5   Stewart & Stevenson                                Business debt                                                              $41,968.31
    5717 I-10
    San Antonio, TX 78219




Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                      page 1
Debtor       Arete Healthcare LLC                                                Case number (if known)
             Name


 Name of creditor and           Name, telephone      Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing               number, and email    (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip         address of           debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                           creditor             professional          unliquidated,   secured, fill in total claim amount and
                                contact              services, and         or disputed     deduction for value of collateral or setoff to
                                                     government                            calculate unsecured claim.
                                                     contracts)
                                                                                           Total           Deduction       Unsecured
                                                                                           claim, if       for value       claim
                                                                                           partially       of
                                                                                           secured         collateral
                                                                                                           or setoff
6   Pegasus MSO, LLC                                 Business debt                                                              $18,225.00
    1314 W. McDermott Dr.
    Ste. 106-517
    Allen, TX 75013



7   Docutap, Inc.                                    Business debt                                                              $15,500.00
    101 S. Phillips Ave. #300
    Sioux Falls, SD 57104




8   South Park Properties SM                         Business debt                                                              $10,915.65
    100 Mackey Drive
    San Antonio, TX 78213




9   Highland Capital                                 Business debt                                                               $5,053.15
    Corporation
    5 Center Avenue
    Little Falls, NJ 07424



10 Central Mutual Insurance                          Insurance services                                                          $4,989.98
   7301 State Hwy.161
   Irving, TX 75039




11 TIAA Finance                                      Business debt                                                               $4,820.32
   P.O. Box 911608
   Denver, CO 80291-1608




12 AFLAC                                             Business debt                                                               $3,170.00
   1932 Wynnton Road
   Columbus, GA 31999




13 AT&T                                              Business phones                                                             $2,944.00
   208 S. Akard St.
   Dallas, TX 75202




Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    page 2
Debtor       Arete Healthcare LLC                                               Case number (if known)
             Name


 Name of creditor and         Name, telephone       Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing             number, and email     (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip       address of            debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                         creditor              professional          unliquidated,   secured, fill in total claim amount and
                              contact               services, and         or disputed     deduction for value of collateral or setoff to
                                                    government                            calculate unsecured claim.
                                                    contracts)
                                                                                          Total           Deduction       Unsecured
                                                                                          claim, if       for value       claim
                                                                                          partially       of
                                                                                          secured         collateral
                                                                                                          or setoff
14 ITSC                                             Business debt                                                               $2,532.00
   614 W. French Place
   San Antonio, TX 78212




15 Canon Financial                                  Business debt                                                               $2,343.23
   Services, Inc.
   158 Gaither Dr., Suite
   200
   P.O. Box 5008
   Mount Laurel, NJ 08054
16 Lockaway Storage                                 Business storage                                                            $1,404.00




17 JGI Outdoor Advertising                          Advertising                                                                 $1,236.00
   525 Park Grove
   Katy, TX 77450




18 Nextiva*Voip Service                             Business debt                                                                 $807.00
   8800 E. Chaparral Rd.
   Suite 300
   Scottsdale, AZ 85250



19 ADT Security                                     Business debt                                                                 $674.00
   1 Town Center Road
   Boca Raton, FL 33486




20 Adobe Systems, Inc.                              Business debt                                                                 $502.00
   345 Park Avenue
   San Antonio, CA 95110-
   2704




Official Form 204     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    page 3
                                      UNITED STATES BANKRUPTCY COURT
                                         WESTERN DISTRICT OF TEXAS
                                            SAN ANTONIO DIVISION
  IN RE:   Arete Healthcare LLC                                                    CASE NO

                                                                                  CHAPTER     11

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 11/3/2019                                           Signature    /s/ Brian Johnson
                                                                     Brian Johnson
                                                                     President


Date                                                     Signature
Adobe Systems, Inc.
345 Park Avenue
San Antonio, CA 95110-2704



ADT Security
1 Town Center Road
Boca Raton, FL 33486



AFLAC
1932 Wynnton Road
Columbus, GA 31999



Ariel Bouskila
Berkovitch & Bouskila, PLLC
80 Broad St., Suite 3301
New York, NY 10004


AT&T
208 S. Akard St.
Dallas, TX 75202



Bio Medical Waste Solutions
P.O. Box 1147
Port Neches, TX 77651



Canon Financial Services, Inc.
158 Gaither Dr., Suite 200
P.O. Box 5008
Mount Laurel, NJ 08054


Central Mutual Insurance
7301 State Hwy.161
Irving, TX 75039



Christopher R. Castro
MCA Recovery
17 State Street, Suite 4000
New York, NY 10004
Christopher Savoy
Regent & Associates
3601 Audubon Place
Houston, TX 77006


CHTD Company
P.O. Box 2576
Springfield IL 62708



CPS
4514 Frank Bryant Lane
San Antonio, TX 78220



Dena G. Choate
Reid & Dennis
3131 McKinney Ave, Ste. 600
Dallas, TX 75204-2456


Dish Network-EF
9601 South Meridian Blvd.
Englewood, CO 80112



Docutap, Inc.
101 S. Phillips Ave. #300
Sioux Falls, SD 57104



Elisa M. Pagano
CSG Attorneys at Law
One Boland Drive
West Orange, NJ 07052


First American Vendor Finance
255 Woodcliff Dr.
Fairport, NY 14450



Frost Bank
111 W. Houston St.
P.O. Box 1600
San Antonio, Texas 78296
Green Capital Funding LLC
30 Broad St., Suite 14108
New York, NY 10004



Highland Capital Corporation
5 Center Avenue
Little Falls, NJ 07424



Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346



ITSC
614 W. French Place
San Antonio, TX 78212



JGI Outdoor Advertising
525 Park Grove
Katy, TX 77450



Kash Capital
1022 Avenue M
Brooklyn, NY 11230



Leslie Luttrell
Luttrell+Carmody Law Group
One International Centre
100 NE Loop 410, Suite 615
San Antonio, TX 78216

Lindsey Rohan
Law Office of Lindsey Rohan
348 RXR Plaza
Uniondale, NY 11556


Lockaway Storage
Marc Connelly
Assistant General Counsel
1100 W. 49th Street
Austin, TX 78756-3199


NEC Corporation of America
6535 State Hwy 161
Irving, TX 75039



Network Box USA
2825 Wilcrest Dr., #259
Houston, TX 77042



Nextiva*Voip Service
8800 E. Chaparral Rd. Suite 300
Scottsdale, AZ 85250



Norcal Group
7600 N. Capital of TX Hwy
Austin, TX 78731



Northland Cable Ventures
515 W. Tyler
Mexia, TX 76667



OnDeck Capital
1400 Broadway
New York, NY 10018



Pegasus MSO, LLC
1314 W. McDermott Dr.
Ste. 106-517
Allen, TX 75013


Platinum Rapid Funding Group Ltd.
348 RXR Plaza
Uniondale, NY 11556
Region Capital
323 Sunny Isles Blvd.
Suite 501
Sunny Isles, FL 33160


Ryan C. Reed
Pulman, Cappuccio & Pullen, LLP
2161 NW Military Hwy, Suite 400
San Antonio, TX 78213


SAWS
2800 US Hwy 281 N
San Antonio, TX 78212



South Park Properties SM
100 Mackey Drive
San Antonio, TX 78213



Spectrum
60 Columbus Circle
New York, NY 10023



Stewart & Stevenson
5717 I-10
San Antonio, TX 78219



TIAA Finance
P.O. Box 911608
Denver, CO 80291-1608



Tony Gray
OnDeck
1400 Broadway
New York, NY 10018


Tracksmart
US Attorney
601 NW Loop 410, Suite 600
San Antonio, TX 78216



US Attorney General
Main Justice Bldg., #5111
10th & Constitutional Ave., NW
Washington, DC 20530


WG Capital
1734 8th Ave.
Suite PH
Brooklyn, NY 11215
